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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

                                                                        Acknowledged
TERRY LEE HONAKER,                                 )                         TWP
                                                   )                    December 29, 2016
                 Plaintiff,                        )
                                                   )
                                                   ) No. 1:16-cv-02703-TWP-DML
       vs.                                         )
                                                   ) Honorable Judge Tanya Walton Pratt
                                                   )
DIVERSIFIED CONSULTANTS, INC.,                     ) Magistrate Judge Debra McVicker Lynch
                                                   )
                 Defendant,                        )

                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties through their

respective counsel that the above-captioned action is dismissed, with prejudice against the defendant

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its own costs and

attorney fees.

Dated: December 28, 2016                              Respectfully Submitted,

/s/ Michael D. Slodov                                 /s/ Daniel M. Spector
Michael D. Slodov                                     Daniel M. Spector
Counsel for Defendant                                 Counsel for Plaintiff
Sessions, Fishman, Nathan & Israel, LLC               Consumer Law Partners, LLC
15 E. Summit Street                                   435 N. Michigan Avenue
Chagrin Falls, OH 44022                               Suite 1609
Phone: (440) 318-1073                                 Chicago, IL 60611
Fax: (216) 359-0049                                   Phone: (267) 422-1000
Email: mslodov@sessions.legal                         Fax: (267) 422-2000
